Case 3:20-cv-01975-K Document 1-1 Filed 07/27/20 Pagel1ofi1 PagelD 17

JS 44 (Rev. 06/17) - TXND (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
bi Pp 3 pape! y p

provided by local rules of court. This form, approved by the Judicial Conference of the
purpose of initiating the civil docket sheet.

nited States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. LAINTIF
Ba eae ns

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

S.D, Matthews & Associates, PLLC; 1905 W. Ennis Ave., Ste 506, Ennis, TX

75119; (972) 398-6666

Rockwall County, TX

DEFENDANTS

NOTE:

Attomeys (if Known)

 

County of Residence of First Listed Defendant

Iovate Health Sciences USA, Inc.; Iovate Helath Sciences, Inc. and Muscle
Tech Research and Development, Inc.

ErigNY

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only)

 

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

O01. US. Government O13. Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State (Kl © 1 Incorporated or Principal Place O4 &4
of Business In This State
0 2 U.S. Government 4 Diversity Citizen of Another State 0 2 © 2 Incorporated and Principal Place o5 05
Defendant (indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a O3 © 3 Foreign Nation 06 6
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY  |0 625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine 0 310 Airplane &f 365 Personal Injury - of Property 21 USC 881 0 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act 0 315 Airplane Product Product Liability 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability O 367 Health Care/ (O 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights 0 430 Banks and Banking
0 151 Medicare Act © 330 Federal Employers’ Product Liability 830 Patent 0 450 Commerce
0 152 Recovery of Defaulted Liability O 368 Asbestos Personal © 835 Patent - Abbreviated © 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) O) 345 Marine Product Liability © 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran’s Benefits 1) 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395fH O 490 Cable/Sat TV
0 160 Stockholders’ Suits 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (923) 0 850 Securities/Commodities/
0 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations C7 864 SSID Title XVI © 890 Other Statutory Actions
0 196 Franchise Injury C1 385 Property Damage O 740 Railway Labor Act 0 865 RSI (405(g)) O 89] Agricultural Acts
©) 362 Personal Injury - Product Liability 0 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act O 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |) 790 Other Labor Litigation FEDERAL TAX SUITS Act
0 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: CG 791 Employee Retirement O 870 Taxes (U.S. Plaintiff O 896 Arbitration
O 220 Foreclosure 0 441 Voting © 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure

O 230 Rent Lease & Ejectment 0 442 Employment OC 510 Motions to Vacate

0 240 Torts to Land 0 443 Housing/ Sentence
© 245 Tort Product Liability Accommodations O 530 General
0 290 All Other Real Property C1 445 Amer. w/Disabilities -]( 535 Death Penalty
Employment Other:
© 446 Amer. w/Disabilities -] 540 Mandamus & Other
Other CO 550 Civil Rights

O 448 Education O 555 Prison Condition
0 560 Civil Detainee -
Conditions of

Confinement

 

 

O 871 IRS—Third Party
26 USC 7609

 

IMMIGRATION

 

 

© 462 Naturalization Application
© 465 Other Immigration
Actions

Act/Review or Appeal of
Agency Decision

© 950 Constitutionality of
State Statutes

 

 

 

O 3  Remanded from
Appellate Court

O1 Original o4

Proceeding

O 2 Removed from
State Court

28 USC 1332
Brief description of cause:

VI. CAUSE OF ACTION

 

Reinstated or
Reopened
(specify)

Product Liability - Diet Supplement Hydroxycut

O 3 Transferred from
Another District

Transfer

Cite the U.S. Civil Statute under which you are filing (Do aot cite jurisdictional statutes unless diversity):

O 6 Multidistrict
Litigation -

0 8 Multidistrict
Litigation -
Direct File

 

 

 

 

 

VIL. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes No

VIII. RELATED CASE(S) a
IF ANY (See instructions): ;ODGE DOCKET NUMBER

DATE SIGNATURE OF ATTORN CORD —s!,

07/27/2020 a s ’ ae

FOR OFFICE USE ONLY pe Y

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
